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UN|TED STATES DlSTR|CT COUR'[

MIDDLE DlSTRICT oF FLORIDA".“]. p cw~jg&@@
FoRT MYERs DlvlsloN " § " " " L99'9
SALVADOR JIMENEz-GARCIA, et al.,
Plaiotiffs,
-vs- Case No. 2:01-cv-539-th-318PC
SORRELLS BROTHERS PACKING

COMPANY, INC.,
Defendant.

 

ORDER AND NOT|CE OF HEAR|NG

The Plaintiffs are directed to file a Motion, with memorandum and other pertinent
supporting documents, regarding their claim for attorney’s fees on or before Friday,
Febmary 20, 2004. The Defendant is directed to file a response to the motion on or
before Wednesday, March 10, 2004.

TAKE NOT|CE that an evidentiary hearing will be held on Friday, March 19,
2004 at 9:00 a.m. to be held in the U.S. Courthouse and Federal Building, Fort Myers,
Florida. The Courtroom will be determined at a later date. The parties are directed to t”lle
and exchange a list of witnesses and exhibits that they intend on introducing at the
hearing on or before March 15, 2004.

DONE and ORDERED in Chambers, Orlando, Florida this ii day of February,

2004.

 

A. PRESNELL
UN|TED STATES DlSTRICT JUDGE
Copies to:
A|l counsel and unrepresented parties.
Judge John E. Steele

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F I L E C O P Y

Date Printed: 02/05/2004

Notice Sent to:

Kristina Rowe, Esq.

Florida Rural Legal Services, Inc.
106 S. 2nd St.

P.O. BOX 1109

Immokalee, FL 34142

2:01-cv-00539 maa

Raul Canela Pardo, Esq.

Florida Rural Legal Services, Inc.
200 S. Indian River Dr., Suite 101
P.O. BOX 4333

Ft. Pierce, FL 34948-4333

2:01-cv-00539 maa

Christine Elizabeth Larson, Esq.
Florida Rural Legal Services
3210 Cleveland Ave., Suite 101
P.O. BOX 219

Fort MyerS, FL 33902-0219

2:01-cv-00539 maa

Lisa Jeanne Butler, Esq.
Florida Rural Legal Services
3210 Cleveland Ave., Suite 101
P.O. Box 219

Fort Myers, FL 33902-0219

2:01-cv-00539 maa

Gregory Scott Schell, Esq.

Migrant Farmworker Justice Project
Florida Legal Services

508 Lucerne Ave.

Lake WOrth, FL 33460

2:01-Cv-00539 maa

David J. Stefany, Esq.

Allen, Norton & Blue, P.A.

324 S. Hyde Park Ave., Suite 350
Tampa, FL 33606

2:Ol-cV-00539 maa

 

